                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

UNITED STATES OF AMERICA                             )
                                                     )
               v.                                    )      CASE NO. DNCW3:01CR202-2
                                                     )      (Financial Litigation Unit)
MICHAEL BRUCE BRANCH,                                )
                                                     )
and                                                  )
                                                     )
ZURICH AMERICAN INSURANCE                            )
COMPANY RETIREMENT ACCOUNT PLAN,                     )
               Garnishee.                            )

                        ORDER OF CONTINUING GARNISHMENT

        THIS MATTER is before the Court on the Answer of Zurich American Insurance Company

Retirement Account Plan as Garnishee. On October 12, 2005, District Judge Richard L. Voorhees

sentenced Defendant to eighty-four months incarceration on his conviction for Conspiracy to

Defraud the United States, Mail Fraud and Aiding and Abetting Same, Wire Fraud and Aiding and

Abetting Same, Money Laundering and Aiding and Abetting Same, and Conspiracy to Commit

Money Laundering, all in violation of 18 U.S.C. §§ 371, 1341 and 2, 1343 and 2, 1956(a)(1)(A)(I)

and 2, 1956 (a)(1)(B)(i) and 2, 1957(a) and 2, and 1956(h). Judgment in the criminal case was filed

on February 10, 2006 (Docket No. 296). As part of that Judgment, Defendant was ordered to pay

an assessment of $1,200 and restitution of $13,664,420.26 to the victims of the crimes. Id.

        On May 29, 2012, the Court entered a Writ of Continuing Garnishment ("Writ") (Docket No.

334) to Garnishee1, Zurich American Insurance Company Retirement Account Plan ("Garnishee").

The United States is entitled to a garnishment of twenty-five per cent of Defendant’s periodic

pension annuity distributions, net of any mandatory tax withholdings, and has satisfied the


        1
       Garnishee was incorrectly identified in the Writ of Continuing Garnishment as Benefits
Administration Committee.


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prerequisites set forth in 15 U.S.C. § 1673. Defendant was served with the Writ on June 1, 2012.

Garnishee was served with the Writ on June 4, 2012. Garnishee filed an Answer on June 25, 2012

(Docket No. 339) stating that at the time of the service of the Writ, Garnishee anticipates owing

Defendant a future monthly pension annuity benefit in the amount of $453.35 until March 1, 2018.



       IT IS THEREFORE ORDERED that an Order of Continuing Garnishment is hereby

ENTERED in the amount of $13,645,934.56 computed through May 23, 2012. Garnishee shall pay

the United States twenty-five per cent of Defendant's periodic pension annuity distributions which

remain after all deductions required by law have been withheld. Garnishee shall continue said

payments until the debt to the Plaintiff is paid in full, or until Garnishee no longer has custody,

possession or control of any property belonging to Defendant, or until further order of this Court.

       Payments should be made payable to the United States Clerk of Court and mailed to the

Clerk of the United States District Court, 401 West Trade Street, Charlotte, North Carolina 28202.

In order to ensure that each payment is credited properly, the following should be included on each

check: Court Number DNCW3:01CR202-2.

       Plaintiff will submit this debt to the Treasury for inclusion in the Treasury Offset Program.

Under this program, any federal payment Defendant would normally receive may be offset and

applied to this debt.

       SO ORDERED.                               Signed: July 25, 2012




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